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                                                                  The Honorable John C. Coughenour
8
                              UNITED STATES DISTRICT COURT
9                            WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
10
        MYRIAM ZAYAS,                                      NO. 2:20-cv-00747 JCC
11
                                    Plaintiff,             REPLY IN SUPPORT OF
12                                                         DEFENDANTS JEFF WHITNEY,
                v.                                         AMBER WHITNEY AND DAVID LA
13                                                         RAUS’ MOTION TO DISMISS
        ANNETTE MESSITT, JEFFREY
14      WHITNEY, AMBER WHITNEY, et                         NOTE FOR MOTION: February 26,
        al.                                                2021__________
15
                                    Defendants.
16

17          Defendants JEFFREY WHITNEY, AMBER WHITNEY and DAVID LA RAUS

18   (collectively, “Defendants”) respectfully move the Court to dismiss with prejudice Plaintiff

19   Myriam Zayas’ Twelfth Amended Complaint (Dkt # 35) against these Defendants on the grounds

20   that Plaintiff has failed to state a claim upon which relief maybe granted. Plaintiff’s “Reply on

21   Response for Motion to Dismiss” (herein, “Response”) (Dkt # 49) fails to rebut—or even address—

22   the fatal deficiencies in her claims that Defendants raised in their Motion to Dismiss (Dkt # 46).

23   Plaintiff fails to allege that these Defendants violated her constitutionally protected rights as is

24   necessary to pursue a cognizable cause of action under 42 U.S.C. §§ 1983 and 1985. Moreover,

25   Jeffrey and Amber Whitney (“The Whitneys”) were not state actors in their capacity as temporary

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       REPLY IN SUPPORT OF                          1                     ATTORNEY GENERAL OF WASHINGTON
                                                                                      Torts Division
       DEFENDANTS’ MOTION TO                                                    7141 Cleanwater Drive SW
       DISMISS No. 2:20-cv-00747 JCC                                                 PO Box 40126
                                                                                Olympia, WA 98504-0126
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1    foster parents of plaintiff’s daughter, ACZ. As non-state actors, they cannot be held liable under 42

2    U.S.C. §§ 1983 and 1985. Furthermore, David La Raus was the Assistant Attorney General who

3    represented the Washington Department of Children, Youth and Families (“DCYF”) in the 2020

4    dependency case of plaintiff’s daughter. Mr. La Raus has absolute quasi-prosecutorial and quasi-

5    judicial immunity for his challenged actions in this lawsuit. Lastly, Plaintiff’s claims against AAG

6    La Raus are in reality an impermissible attempt to appeal the state court’s order of dependency to

7    this Court.

8                                          I.      ARGUMENT
9    A.      Motion to Strike Plaintiff’s Exhibits
10
             Defendants request that the Court strike Plaintiff’s exhibits attached to her Response. See
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     Dkt # 49, pp. 4-102. These exhibits are outside the pleadings and may not be considered on a
12
     motion to dismiss.
13
             Generally, in ruling on a 12(b)(6) motion to dismiss, a district court may not consider any
14
15   material beyond the pleadings. Lee v. City of Los Angeles, 250 F.3d 668, 688 (9th Cir. 2001). It is

16   inappropriate and insufficient to use extrinsic evidence to respond to a motion challenging the

17   sufficiency of pleadings. Holy Ghost Revival Ministries v. City of Marysville, 98 F. Supp. 3d
18
     1153, 1162 (W.D. Wash. 2015) (“It is neither appropriate nor sufficient for Plaintiffs to respond
19
     to a motion challenging the sufficiency of their pleadings by discussing the extrinsic evidence
20
     that supports their claims. Accordingly, the court STRIKES Plaintiffs' exhibits that were not
21
     attached to or incorporated by reference in the complaint[.]”). On a motion to dismiss, the court
22

23   “may take judicial notice of matters of public record outside the pleadings.” MGIC Indem. Corp. v.

24   Weisman, 803 F.2d 500, 504 (9th Cir. 1986). To this end, a court may take judicial notice “of court
25

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1    filings and other matters of public record.” Reyn’s Pasta Bella, LLC v. Visa USA, Inc., 442 F.3d

2    741, 746 n.6 (9th Cir. 2006).
3
             Plaintiff’s Response brief is apparently asking the Court to consider approximately one-
4
     hundred pages of exhibits without clear explanation of where the exhibits come from, whether
5
     they are public records, and whether the authenticity of said records may be readily verifiable.
6
     Plaintiff has not asked the Court to take judicial notice of these extrinsic records and Plaintiff
7

8    has made no attempt to demonstrate that any of these records are the proper subject of judicial

9    notice. Accordingly, Defendants request that the Court strike Plaintiff’s improper exhibits filed
10   as part of her Response in Docket # 49.
11
     B.      Plaintiff’s Response Brief Fails to Respond to Defendants’ Motion to Dismiss
12
             Even if the Court denies Defendants’ motion to strike, Plaintiff’s Response and exhibits
13
     offer nothing of relevance that would allow any of her claims against Defendants to survive
14
15   dismissal for failure to state a claim upon which relief may be granted. The exhibits appear to

16   extend as far back as 2008 and have no decipherable bearing on Plaintiff’s allegations against

17   Defendants in this instant litigation. With respect to Plaintiff’s Response brief, Plaintiff alleges
18
     that Defendants Jeff and Amber Whitney, while serving as foster parents to ACZ, were taking
19
     ACZ to church and “playing house”. See Plaintiff’s Response, Dkt # 49, p. 2. Such allegations
20
     fail on their face to assert any violation of Plaintiff’s constitutionally protected rights. Plaintiff’s
21
     remaining arguments in her Response are legally conclusory statements that are untethered from
22

23   any factual allegations. See Plaintiff’s Response, Dkt # 49, pp. 3-4. Simply put, Plaintiff has

24   failed to offer any coherent rebuttal arguments as to why any of her claims should survive

25   Defendants’ Motion to Dismiss.
26

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1            Plaintiff has failed to allege that The Whitneys or David La Raus violated any of

2    plaintiff’s Constitutional or federally protected rights, which is a necessary element of 42 U.S.C.
3
     §§ 1983 and 1985 claims. See Dkt # 46, Defendants’ Motion to Dismiss, 7:8-9:7. The Whitneys
4
     are not state actors, which is also a fundamental requirement for bringing a cognizable Section
5
     1983 and 1985 claim. Id. at 9:8-10:22. Moreover, Assistant Attorney General David La Raus is
6
     afforded absolute quasi-prosecutorial and quasi-judicial immunity for his alleged actions that
7

8    Plaintiff is challenging in this lawsuit. Id. at 10:23-14:7. Lastly, Plaintiff’s claims against David

9    La Raus are in reality an impermissible attempt to appeal the state court’s order of dependency to
10   this Court. Id. at 14:8-16:13.
11
                                          II.     CONCLUSION
12
             For the various reasons articulated in Defendants’ Motion to Dismiss (which remain
13
     unaddressed in Plaintiff’s Response brief), Defendants Jeffrey Whitney, Amber Whitney and
14
     David La Raus respectfully request that Plaintiff’s Twelfth Amended Complaint (Dkt # 35) be
15

16   dismissed with prejudice against these Defendants pursuant to Federal Rule of Civil Procedure

17   12(b)(6).

18

19
             DATED this 26th day of February, 2021.
20
                                                    ROBERT W. FERGUSON
21                                                  Attorney General

22                                                  /s/ Brendan M. Lenihan
                                                    BRENDAN M. LENIHAN, WSB No. 56066
23
                                                    Assistant Attorney General
24                                                  Attorney for Defendants Jeffrey Whitney, Amber
                                                    Whitney and David La Raus
25                                                  Brendan.Lenihan@atg.wa.gov

26

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                                                                                       Torts Division
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1                                      CERTIFICATE OF SERVICE

2
            I hereby certify that on the February 26, 2021, I caused to be electronically filed the
3
     foregoing document with the Clerk of the Court using the CM/ECF system, which will send
4
     notification of such filing to the following:
5
            Electronic Service to:
6           JULIE DEE COOK
            Julie.Cook@kingcounty.gov
7           For Defendants Pauline Duke, Debbie Cowan,
            Annette Messitt and Ann Danieli
8
            Mailed to:
9           MYRIAM ZAYAS
            27369 129th Place SE
10          Kent, WA 98030

11
12                                                   /s/ Brendan M. Lenihan
                                                     BRENDAN M. LENIHAN, WSB No. 56066
13                                                   Assistant Attorney General
14
15

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